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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

vs.                                     CASE NO. 4:04CR000189GH

DEXTER ROSS                                                                           DEFENDANT

                                              ORDER

         The Court has received the proposed Findings and Recommendations from Magistrate Judge
John F. Forster, Jr, finding that the motion to suppress should be denied. Defendant has filed
objections. The Court has reviewed the record and approves and adopts the Findings and
Recommendations in their entirety as this Court's findings in all respects.1 The Court, however,
makes the following additional findings in response to the objections.
         Defendant contends that the $910 in cash seized when defendant’s vehicle was stopped
should be suppressed. It is clear that the state trooper would have had probable cause to stop
defendant’s vehicle after the officer observed the vehicle speeding through a residential area. See
United States v. Brown, 345 F. 3d 574 (8th Cir. 2003). According to the testimony at the
suppression hearing, the state trooper stopped defendant because he was requested to do so by the
DEA agents.
         Here, there was reasonable suspicion to stop the vehicle based on the information law
enforcement officials had concerning defendant’s illegal drug activity as well as defendant’s actions
in speeding away.     Furthermore, the pat-down search was permissible as was the subsequent
seizure of the cash. See United States v. Bustos-Torres, 396 F. 3d 935, 944-45 (8th Cir. 2005).


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        Because there was insufficient time to obtain a written transcript of the suppression
hearing, the Court reviewed the tapes of the suppression hearing.

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        The search warrant authorized the search of the premises and curtilage of defendant for
“documentary evidence, documentary evidence to include, but not limited to phone records, drug
ledges, U.S. currency, and computers, and other items used in furtherance of a Drug Conspiracy
in violation of the Controlled Substances Act.” Defendant contends that the search warrant was
limited to documentary evidence and that certain items seized, in particular, the scales, a baggie
containing 10 grams of crack cocaine, a baggie containing a small amount of marijuana, and a
vacuum sealer, exceeded the scope of the warrant. The Court disagrees.         The language was
specific enough to authorize police to seize items associated with an illegal drug conspiracy. See
United States v. Coppage, 635 F. 2d 683, 687 (8th Cir. 1980).
        Defendant also challenges the seizure of the crack cocaine and scales which were found
above a doorway. There was a dispute as to whether the officers actually removed paneling to find
the articles.   The officers stated that the drugs and paraphernalia were in plain view. Even
assuming they were not, the Court is not persuaded that the search for items above the doorway
exceeded the scope of the search warrant. The police were authorized to search for items
connected with the drug conspiracy, items which could have been hidden directly related to
investigation of the drug conspiracy. See United States v. Weinbender, 109 F.3d 1327, 1330 (8th
Cir. 1997).2
        Accordingly, the motion to suppress is denied.
        IT IS SO ORDERED this 24th day of February, 2006.


                                                     ___________________________________
                                                     UNITED STATES DISTRICT JUDGE




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       Defendant also contends that there was not sufficient probable cause to search his
house. The Magistrate Judge adequately addressed this issue, and the Court finds that there
was probable cause for the warrant.

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